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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 JAVIER TORRES,
                                                 Civil Action No. 15-01637 (JMV)(MF)
                        Plaintiff,
                                                 Hon. John Michael Vazquez
            -against-                            United States District Judge
 INVESTORS BANK BANK/ aka
 INVESTORS SAVINGS BANK;                              ANSWER OF DEFENDANT
 CITIMORTGAGE, INC.; JOHN                             CITIMORTGAGE, INC. TO
 DOES I-X,                                          PLAINTIFF’S FIRST AMENDED
                                                           COMPLAINT
                        Defendants.


       Defendant, CitiMortgage, Inc. (“CitiMortgage”), by and through its attorneys, Sills

Cummis & Gross P.C., states as follows in answer to the First Amended Complaint and Jury

Demand (the “FAC”) of Plaintiff Javier Torres (“Plaintiff” or “Torres”):

                                     JURISDICTION AND VENUE

       1.      Paragraph 1 of the FAC states a legal conclusion to which no response is required.

To the extent that a response is required to paragraph 1 of the FAC, the allegations are denied.

       2.      Paragraph 2 of the FAC states a legal conclusion to which no response is required.

To the extent that a response is required to paragraph 2 of the FAC, the allegations are denied.

                                            PARTIES

       3.      CitiMortgage lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 3 of the FAC. To the extent that a response is

required to paragraph 3 of the FAC, the allegations are denied.

       4.      CitiMortgage lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 4 of the FAC. To the extent that a response is

required to paragraph 4 of the FAC, the allegations are denied.
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       5.      CitiMortgage admits only that it services the mortgage loan in question on behalf

of Investors Bank, that its principal location of business is 1000 Technology Drive, O’Fallon,

Missouri, and that it has an agent for service of process for this litigation at The Corporation

Trust Company 820 Bear Tavern Road, West Trenton, New Jersey 08628. The remainder of the

allegations in Paragraph 5 of the FAC are denied.

                                           COUNT I

                 Violation of the Truth in Lending Act 15 U.S.C. 1602 et seq.

                                        (Investors Bank)

       6.      CitiMortgage lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 6 of the FAC. To the extent that a response is

required to paragraph 6 of the FAC, the allegations are denied.

       7.      The allegations contained in paragraph 7 of the FAC attempt to characterize the

promissory note, a document that speaks for itself.        Accordingly, CitiMortgage denies the

allegations of this paragraph and respectfully refers the Court to the promissory note for a

complete statement of the terms and provisions contained therein.

       8.      The allegations contained in paragraph 8 of the FAC attempt to characterize the

promissory note and mortgage, documents that speaks for themselves.                Accordingly,

CitiMortgage denies the allegations of this paragraph and respectfully refers the Court to the

promissory note and mortgage for a complete statement of the terms and provisions contained

therein.

       9.      CitiMortgage lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 9 of the FAC. To the extent that a response is

required to paragraph 9 of the FAC, the allegations are denied.




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       10.     CitiMortgage admits only that Plaintiff has defaulted on the subject mortgage

loan. To the extent that a response is required to the remaining allegations in paragraph 10 of the

FAC, CitiMortgage lacks knowledge or information sufficient to form a belief as to the truth of

them. To the extent that a response is required to the remaining allegations in paragraph 10 of

the FAC, the allegations are denied.

       11.     CitiMortgage lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 11 of the FAC. To the extent that a response is

required to paragraph 11 of the FAC, the allegations are denied.

       12.     Admitted.

       13.     CitiMortgage admits only that the referenced foreclosure action (Docket No. F-

054827-10) was dismissed on December 15, 2011.             The remainder of the allegations in

paragraph 13 of the FAC are denied.

       14.     CitiMortgage lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 14 of the FAC. To the extent that a response is

required to paragraph 14 of the FAC, the allegations are denied.

       15.     CitiMortgage admits only that it services the mortgage loan in question. The

remainder of the allegations in paragraph 15 of the FAC are denied.

       16.     The allegations contained in paragraph 16 of the FAC attempt to characterize the

assignment of mortgage, a document which speaks for itself. Accordingly, CitiMortgage denies

the allegations of this paragraph and respectfully refers the Court to the assignment of mortgage

for a complete statement of the terms and provisions contained therein.

       17.     The allegations contained in paragraph 17 of the FAC attempt to characterize the

assignment of mortgage, a document which speaks for itself. Accordingly, CitiMortgage denies




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the allegations of this paragraph and respectfully refers the Court to the assignment of mortgage

for a complete statement of the terms and provisions contained therein.

       18.     CitiMortgage lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 18 of the FAC. To the extent that a response is

required to paragraph 18 of the FAC, the allegations are denied.

       19.     CitiMortgage lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 19 of the FAC. To the extent that a response is

required to paragraph 19 of the FAC, the allegations are denied.

       20.     Paragraph 20 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 20 of the FAC, the allegations

are denied.

       21.     Paragraph 21 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 21 of the FAC, CitiMortgage

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

contained in paragraph 21 of the FAC. To the extent that a response is required to paragraph 21

of the FAC, the allegations are denied.

       22.     Paragraph 22 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 22 of the FAC, CitiMortgage

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

contained in paragraph 22 of the FAC. To the extent that a response is required to paragraph 22

of the FAC, the allegations are denied.

       23.     Paragraph 23 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 23 of the FAC, CitiMortgage




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lacks knowledge or information sufficient to form a belief as to the truth of the allegations

contained in paragraph 23 of the FAC. To the extent that a response is required to paragraph 23

of the FAC, the allegations are denied.

        24.     Paragraph 24 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 24 of the FAC, CitiMortgage

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

contained in paragraph 24 of the FAC. To the extent that a response is required to paragraph 24

of the FAC, the allegations are denied.

         WHEREFORE, Defendant CitiMortgage, Inc. respectfully requests that the First

 Amended Complaint and Jury Demand of Plaintiff Javier Torres be dismissed with prejudice

 and demands judgment in CitiMortgage’s favor together with its costs and attorneys’ fees and

 any such further relief as the Court deems just and proper.

                                              COUNT II

       VIOLATION OF THE REAL ESTATE SETTLEMENT PROCEDURES ACT

                                          (CitiMortgage, Inc.)

        25.     CitiMortgage incorporates by reference its responses to paragraphs 1 to 24 as if

fully set forth herein.

        26.     CitiMortgage admits only that it appears that Torres’ counsel sent a letter to the

law firm of Milstead & Associates, LLC dated May 11, 2015. The remainder of the allegations

in paragraph 26 of the FAC are denied.

        27.     CitiMortgage admits only that it appears that Torres’ counsel sent a letter to the

law firm of Milstead & Associates, LLC dated May 11, 2015, which is part of Exhibit B to the

FAC. The remainder of the allegations in paragraph 27 of the FAC are denied.




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       28.    CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

May 11, 2015, which is part of Exhibit C to the FAC. The remainder of the allegations in

paragraph 28 of the FAC are denied.

       29.    CitiMortgage admits only that it appears that the law firm of Milstead &

Associates, LLC sent an e-mail dated May 20, 2015, which is part of Exhibit C to the FAC. The

remainder of the allegations in paragraph 29 of the FAC are denied.

       30.    CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

May 27, 2015, which is part of Exhibit C to the FAC. The remainder of the allegations in

paragraph 30 of the FAC are denied.

       31.    Paragraph 31 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 31 of the FAC, the allegations

are denied.

       32.    CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

June 25, 2015, which is part of Exhibit C to the FAC. The remainder of the allegations in

paragraph 32 of the FAC are denied.

       33.    CitiMortgage admits only that it appears that Jennifer Richardson of Milstead &

Associates, LLC sent an e-mail dated June 26, 2015, which is part of Exhibit C to the FAC.

       34.    CitiMortgage admits only that it appears that CitiMortgage sent a letter dated July

1, 2015, which is part of Exhibit D to the FAC. The remainder of the allegations in paragraph 34

of the FAC are denied. Moreover, the allegations contained in paragraph 34.a. are denied.

       35.     CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

July 8, 2015, which is part of Exhibit C to the FAC. The remainder of the allegations in

paragraph 35 of the FAC are denied.




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       36.    CitiMortgage admits only that it appears that Milstead & Associates, LLC sent an

e-mail dated July 10, 2015, which is part of Exhibit C to the FAC. The remainder of the

allegations in paragraph 36 of the FAC are denied.

       37.    CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

July 15, 2015, which is part of Exhibit C to the FAC. The remainder of the allegations in

paragraph 37 of the FAC are denied.

       38.    CitiMortgage admits only that it appears that Milstead & Associates, LLC sent an

e-mail dated September 1, 2015, which is part of Exhibit C to the FAC. The remainder of the

allegations in paragraph 38 of the FAC are denied.

       39.    CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

September 3, 2015, which is part of Exhibit C to the FAC. The remainder of the allegations in

paragraph 39 of the FAC are denied.

       40.    CitiMortgage admits only that it appears that Milstead & Associates, LLC sent an

e-mail dated November 2, 2015, which is part of Exhibit C to the FAC. The remainder of the

allegations in paragraph 40 of the FAC are denied.

       41.    CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

November 3, 2015, which is part of Exhibit C to the FAC. The remainder of the allegations in

paragraph 41 of the FAC are denied.

       42.    Paragraph 42 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 42 of the FAC, the allegations

are denied.

       43.    CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

November 24, 2015 and that Milstead & Associates, LLC sent an e-mail dated November 24,




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2015, which are part of Exhibit C to the FAC. The remainder of the allegations in paragraph 43

of the FAC are denied.

       44.     CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

January 5, 2016, which is part of Exhibit C to the FAC. To the extent that a response is required

to the remaining allegations in paragraph 44 of the FAC, CitiMortgage lacks knowledge or

information sufficient to form a belief as to the truth of them. To the extent that a response is

required to the remaining allegations in paragraph 44 of the FAC, the allegations are denied.

       45.     CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

January 14, 2016 and that Milstead & Associates, LLC sent an e-mail dated January 14, 2016,

which are part of Exhibit C to the FAC. The remainder of the allegations in paragraph 45 of the

FAC are denied.

       46.     CitiMortgage admits only that it appears that Torres’ counsel sent an e-mail dated

February 2, 2016 and that Milstead & Associates, LLC sent an e-mail dated February 2, 2016,

which are part of Exhibit C to the FAC. The remainder of the allegations in paragraph 46 of the

FAC are denied.

       47.     Paragraph 47 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 47 of the FAC, the allegations

are denied.

       48.     Paragraph 48 of the FAC states a legal conclusion to which no response is

required. To the extent that a response is required to paragraph 48 of the FAC, the allegations

are denied.

       49.     Denied.

       50.     Denied.




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       51.     Denied.

       52.     Denied.

       53.     Denied.

       54.     Denied.

       55.     Denied.

       56.     Denied.

       WHEREFORE, Defendant CitiMortgage, Inc. respectfully requests that the First

Amended Complaint and Jury Demand of Plaintiff Javier Torres be dismissed with prejudice and

demands judgment in CitiMortgage’s favor together with its costs and attorneys’ fees and any

such further relief as the Court deems just and proper.

                                 AFFIRMATIVE DEFENSES

                                   First Affirmative Defense

       The FAC fails to state a claim upon which relief can be granted.

                                  Second Affirmative Defense

       The FAC is barred by the applicable statute of limitations.

                                   Third Affirmative Defense

       Plaintiff has not suffered any actual damages.

                                  Fourth Affirmative Defense

       CitiMortgage complied with the statute at issue.

                                   Fifth Affirmative Defense

       Plaintiff never submitted a complete loan modification application for consideration.




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                                   Sixth Affirmative Defense

       CitiMortgage expressly reserves the right to raise such other affirmative defenses as may

become available or apparent during discovery.

       WHEREFORE, Defendant CitiMortgage, Inc. respectfully requests that the Complaint

and Jury Demand of Plaintiff Javier Torres be dismissed with prejudice and demands judgment

in CitiMortgage’s favor together with its costs and attorneys’ fees and any such further relief as

the Court deems just and proper.

                                                 SILLS CUMMIS & GROSS P.C.
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                                                 Attorneys for Defendant Investors Bank f/k/a
                                                 Investors Savings Bank and CitiMortgage Inc.

                                                 /s/ Joshua N. Howley
                                                 JOSHUA N. HOWLEY

Dated: April 21, 2016




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                        LOCAL CIVIL RULE 11.2 CERTIFICATION

       Pursuant to Local Civil Rule 11.2, I hereby certify to the best of my knowledge,

information and belief that the matter in controversy is the subject of one other action pending in

the New Jersey Superior Court, Docket No. F-01463-15, and captioned Investors Savings Bank

v. Torres.

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                                                jhowley@sillscummis.com
                                                Attorneys for Defendant Investors Bank f/k/a
                                                Investors Savings Bank and CitiMortgage Inc.

                                                /s/ Joshua N. Howley
                                                JOSHUA N. HOWLEY

Dated: April 21, 2016




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically transmitted the foregoing document to

the Clerk’s Office of the United States District Court for the District of New Jersey using the

CM/ECF System for filing and service on all counsel of record.

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                                                 /s/ Joshua N. Howley
                                                 JOSHUA N. HOWLEY

Dated: April 21, 2016




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